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                               Exhibit E
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
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00234

  1     NO. GV002327
        THE STATE OF TEXAS           ) IN THE DISTRICT COURT
  2     EX REL.                      )
            VEN-A-CARE OF THE        )
  3         FLORIDA KEYS, INC.,      )
                 PLAINTIFF(S),       )
  4                                  )
        VS.                          ) TRAVIS COUNTY, TEXAS
  5                                  )
        DEY, INC.; ROXANE            )
  6     LABORATORIES, INC., WARRICK )
        PHARMACEUTICALS CORPORATION, )
  7     SCHERING-PLOUGH CORPORATION, )
        AND SCHERING CORPORATION,    )
  8              DEFENDANT(S).       ) 53RD JUDICIAL DISTRICT

  9
            *******************************************
 10
        ORAL AND VIDEOTAPED DEPOSITION OF
 11
        CHARLES A. RICE
 12
        NOVEMBER 7TH, 2002
 13
        VOLUME 2
 14
            *******************************************
 15

 16         ORAL AND VIDEOTAPED DEPOSITION OF CHARLES A. RICE,

 17     PRODUCED AS A WITNESS AT THE INSTANCE OF THE

 18     PLAINTIFF(S), AND DULY SWORN, WAS TAKEN IN THE

 19     ABOVE-STYLED AND NUMBERED CAUSE ON NOVEMBER 7TH, 2002,

 20     FROM 9:12 A.M. TO 5:34 P.M., BEFORE CYNTHIA VOHLKEN,

 21     CSR IN AND FOR THE STATE OF TEXAS, REPORTED BY MACHINE

 22     SHORTHAND, AT THE OFFICES OF COUDERT BROTHERS, 600

 23     BEACH STREET, SAN FRANCISCO, CALIFORNIA PURSUANT TO

 24     THE TEXAS RULES OF CIVIL PROCEDURE.

 25
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  1                             A P P E A R A N C E S

  2     FOR THE PLAINTIFF(S):

  3              MR. PATRICK J. O'CONNELL
                 MR. RAYMOND C. WINTER
  4              MS. CYNTHIA O'KEEFFE
                 OFFICE OF THE ATTORNEY GENERAL
  5              STATE OF TEXAS
                 POST OFFICE BOX 12548
  6              AUSTIN, TEXAS 78711-2548

  7
        FOR THE RELATOR:
  8
                 MR. JAMES JOSEPH BREEN
  9              THE BREEN LAW FIRM, P.A.
                 P. O. BOX 297470
 10              PEMBROKE PINES, FLORIDA 33029-7470

 11              -AND-

 12              MR. FRANK M. PITRE
                 COTCHETT, PITRE, SIMON & MCCARTHY
 13              840 MALCOLM ROAD, SUITE 200
                 BURLINGAME, CALIFORNIA 94010
 14

 15     FOR THE DEFENDANT(S) DEY, INC.:

 16              MR. STEPHEN M. HUDSPETH
                 COUDERT BROTHERS
 17              1114 AVENUE OF THE AMERICAS
                 NEW YORK, NEW YORK 10036-7703
 18
                 -AND-
 19
                 MR. STEVEN A. FLECKMAN
 20              FLECKMAN & MCGLYNN, P.L.L.C.
                 515 CONGRESS, SUITE 1800
 21              AUSTIN, TEXAS 78701-3503

 22
        FOR THE DEFENDANT ROXANE LABORATORIES, INC.:
 23
                 MR. R. ERIC HAGENSWOLD
 24              SCOTT, DOUGLASS & MCCONNICO, L.L.P.
                 ONE AMERICAN CENTER, FIFTEENTH FLOOR
 25              600 CONGRESS AVENUE
                 AUSTIN, TEXAS 78701
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  1     FOR THE DEFENDANT WARRICK PHARMACEUTICALS CORPORATION
        AND SCHERING-PLOUGH CORPORATION AND SCHERING
  2     CORPORATION:

  3              MS. KARIN B. TORGERSON
                 LOCKE LIDDELL & SAPP, LLP
  4              2200 ROSS AVENUE, SUITE 2200
                 DALLAS, TEXAS 75201-6776
  5

  6     ALSO PRESENT:

  7              MR. ELISEO SISNEROS,
                      CALIFORNIA OFFICE OF THE
  8                   ATTORNEY GENERAL
                 MR. ZACHARY TAYLOR BENTLEY, II
  9              MS. ANNE ARNOLD
                 MR. BRIAN BOBBITT, VIDEOGRAPHER
 10

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00338

  1     Q.     YOU SAID YOU DIDN'T KNOW WHO THE DIRECTOR OF

  2     SALES WAS IN 1995.       WAS IT MR. PALLAS?

  3     A.     MR. PALLAS WAS A DIRECTOR OF SALES.     AGAIN, I

  4     DON'T RECALL THE SPECIFIC YEARS.       IT COULD HAVE BEEN.

  5     Q.     AND DID YOU ALSO TELL US THAT MS. ANDERLE WAS

  6     A DIRECTOR OF SALES AT ONE TIME?

  7     A.     THAT'S CORRECT.

  8     Q.     OKAY.   WOULD IT HAVE BEEN IN THE ORDINARY

  9     COURSE OF BUSINESS AND IN CONJUNCTION WITH THEIR JOB

 10     DUTIES FOR EITHER MR. PALLAS OR MS. ANDERLE TO HAVE

 11     OVERSEEN THE PREPARATION OF A DOCUMENT OF THAT NATURE

 12     AND INSTRUCTIONS TO SALES STAFF TO USE A DOCUMENT OF

 13     THAT NATURE IN THEIR CONVERSATIONS WITH CUSTOMERS AND

 14     POTENTIAL CUSTOMERS?

 15     A.     IT COULD HAVE BEEN, BUT I DON'T THINK EITHER

 16     ONE OF THEM WOULD HAVE.

 17     Q.     MAY I SEE THAT AGAIN, PLEASE?

 18     A.     YES, YOU MAY.

 19     Q.     JUST SO THE RECORD IS CLEAR, THE DOCUMENT OF

 20     THAT NATURE WE ARE REFERRING TO IS DEPOSITION EXHIBIT

 21     328.

 22     AND IN PARTICULAR, MR. RICE, I WOULD

 23     LIKE YOU TO DIRECT YOUR ATTENTION TO THE LAST PAGE OF

 24     THIS EXHIBIT, WHICH IS BATES STAND DL-TX-0029713.         AND

 25     DO YOU SEE THE CHART THERE THAT IS ENTITLED
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00339

  1     "REIMBURSEMENT COMPARISON WORKSHEET"?

  2     A.   YES, SIR, I DO.

  3     Q.   OKAY.     SO WHEN I HAVE ASKED YOU PREVIOUS

  4     QUESTIONS ABOUT A COMPARISON OF THE NATURE THAT I HAD

  5     PREVIOUSLY DESCRIBED REGARDING WARRICK'S DRUGS VERSUS

  6     DEY'S DRUGS, THAT'S WHAT I WAS ASKING YOU ABOUT, THAT

  7     KIND OF A COMPARISON.     IS THAT WHAT YOU UNDERSTOOD I

  8     WAS ASKING YOU ABOUT BEFORE?

  9     A.   I BELIEVE IT IS WHAT I UNDERSTOOD, YES.

 10     Q.   OKAY.     I JUST WANT TO MAKE SURE THAT WE WERE

 11     CLEAR ON THAT.     SO YOU JUST TESTIFIED THAT YOU DON'T

 12     BELIEVE EITHER MR. PALLAS OR MS. ANDERLE WOULD HAVE

 13     MADE THAT AUTHORIZATION TO USE A COMPARISON WORKSHEET

 14     OF THAT NATURE; IS THAT CORRECT?

 15     A.   FROM WHAT I RECALL OF MR. PALLAS AND

 16     MS. ANDERLE I DON'T THINK THEY WOULD HAVE, NO.

 17     Q.   DO YOU THINK THAT MR. TIPTON WOULD HAVE

 18     AUTHORIZED DEY'S SALES STAFF TO USE A COMPARISON

 19     DOCUMENT SUCH AS THE LAST PAGE OF EXHIBIT 328 THAT YOU

 20     HAVE IN FRONT OF YOU?

 21     A.   IT'S POSSIBLE, BUT AGAIN, IT WOULD ONLY BE

 22     SPECULATION.

 23     Q.   SO IT'S POSSIBLE THAT MR. TIPTON GAVE THE

 24     DIRECTIVE TO DEY'S SALES STAFF TO USE THAT DOCUMENT,

 25     IS THAT YOUR TESTIMONY?
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  1     A.   IT COULD HAVE HAPPENED THAT WAY.       I DON'T --

  2     AGAIN, I DON'T RECALL.     I DON'T KNOW.    I CERTAINLY

  3     DIDN'T AUTHORIZE THE USE OF THIS.

  4     Q.   DO YOU RECALL A CONVERSATION WHERE THAT WAS

  5     EVER PRESENTED TO YOU AS A POSSIBLE OR DRAFT DOCUMENT

  6     IN WHICH YOU REVIEWED IT, YOU SAID, "NO.        LET'S NOT

  7     USE THIS"?

  8     A.   NO.     I DON'T RECALL EVER SEEING THIS UNTIL

  9     AFTER WE PRODUCED ALL OF THE DOCUMENTS TO YOU GUYS.

 10     Q.   OKAY.     DID MR. MOZAK WHEN YOU HAD

 11     CONVERSATIONS WITH HIM REGARDING THE USE OF THAT

 12     DOCUMENT, DID HE TELL YOU THAT HE HAD SPECIFICALLY

 13     REVIEWED THAT DOCUMENT AND DISAPPROVED THE USE OF IT

 14     IN DEY'S SALES PRESENTATIONS?

 15     A.   NO.     WHAT I RECALL MR. MOZAK SAYING IS HE HAD

 16     NOT SEEN THIS AGAIN UNTIL RECENTLY.

 17     Q.   DID MR. MOZAK LEAD YOU TO BELIEVE THAT HE HAD

 18     SEEN ANYTHING SIMILAR TO THAT DOCUMENT AND MADE THE

 19     DECISION THAT THEY WERE -- THAT IT WAS INAPPROPRIATE

 20     AND WAS NOT TO BE USED?

 21     A.   NO.     MY DISCUSSION WITH MR. MOZAK WAS

 22     PERTAINING TO THE -- THE -- THE CONCEPT OF THIS TYPE

 23     OF AN APPROACH AND HIS RESPONSE TO ME WAS HE HAD NEVER

 24     APPROVED THE USE OF THIS TYPE OF APPROACH ANYWHERE

 25     WITHIN DEY.
